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                                         2   Cassin T. Brown, Bar No. 15877
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                                         3   LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                             3993 Howard Hughes Parkway, Suite 600
                                         4   Las Vegas, NV 89169
                                             Tel: 702.949.8200
                                         5   Fax: 702.949.8398
                                         6   Attorneys for Creditors
                                             Scott W. Wrye and Christine L. McAvoy
                                         7
                                                                        UNITED STATES BANKRUPTCY COURT
                                         8                                     DISTRICT OF NEVADA
                                         9   In re:                                                Case No. 23-50177-nmc
3993 Howard Hughes Parkway, Suite 600




                                                                                                   Case No. 23-50233-nmc
                                        10   GUARDIAN FUND, LLC,
                                        11                                                         Consolidated Case No. 23-50177-nmc
                                                                            Debtor.
                                        12                                                         Chapter 11
Las Vegas, NV 89169




                                        13                                                         NOTICE OF APPEARANCE AND
                                                                                                   REQUEST FOR SPECIAL NOTICE
                                        14                                                         AND COPIES OF ALL PLANS AND
                                        15                                                         DISCLOSURE STATEMENTS [F.R.B.P.
                                                                                                   9010(b), 2002 AND 3017(a)]
                                        16

                                        17            Ogonna M. Brown and Cassin T. Brown of the law firm of Lewis Roca Rothgerber Christie

                                        18   LLP, attorneys for Creditors Scott W. Wrye and Christine L. McAvoy, hereby enter their

                                        19   Appearance on the record in the above-entitled bankruptcy proceeding pursuant to Bankruptcy Rule

                                        20   9010(b), and pursuant to Bankruptcy Rule 2002 and 3017(a) hereby request special notice of all

                                        21   hearings, actions, contested matters, and adversary proceedings in this case, together with copies

                                        22   of all notices, pleadings, motions, responses, and other related materials that are issued or filed in

                                        23   connection with these proceedings by the Court, Debtor or other parties in interest, including copies

                                        24   of all plans of reorganization and disclosure statements. All notices and copies in response to the

                                        25   foregoing, and, pursuant to Bankruptcy Rule 2002, all notices required to be mailed to Scott W.

                                        26   Wrye and Christine L. McAvoy should be directed to:

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                                         1   Ogonna M. Brown, Esq.
                                             Cassin T. Brown, Esq.
                                         2   Lewis Roca Rothgerber Christie LLP
                                             3993 Howard Hughes Pkwy, Suite 600
                                         3   Las Vegas, NV 89169-5996
                                         4            Neither this paper nor any subsequent appearance, pleading, claim, proof of claim,

                                         5   document, suit, motion, nor any other writing or conduct, shall (i) expressly or impliedly designate

                                         6   the undersigned as agent for service of process on Scott W. Wrye and Christine L. McAvoy, or

                                         7   (ii) constitute a waiver of any of the following rights of Scott W. Wrye and Christine L. McAvoy:

                                         8            (a)    Right to have any and all final orders in any and all non-core matters entered only

                                         9   after de novo review by United States District Court Judge;
3993 Howard Hughes Parkway, Suite 600




                                        10            (b)    Right to trial by jury in any proceeding as to any and all matters so triable herein,

                                        11   whether or not the same be designated legal or private rights, or in any case, controversy or

                                        12   proceeding relating hereto, notwithstanding the designation val non of such matters as “core
Las Vegas, NV 89169




                                        13   proceedings” pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to

                                        14   statute or the United States Constitution;

                                        15            (c)    Right to have the reference of this matter withdrawn by the United States District

                                        16   Court in any matter or proceeding subject only to mandatory or discretionary withdrawal; and

                                        17            (d)    Other rights, claims, actions, defenses, setoffs, recoupments, or other matters to

                                        18   which this party is entitled under any agreements or at law or in equity or under the United States

                                        19   Constitution.

                                        20            All of the above rights are expressly reserved and preserved unto Scott W. Wrye and

                                        21   Christine L. McAvoy without exception and with no purpose of confessing or conceding

                                        22   jurisdiction in any way by this filing or by any other participation in the above-captioned case and

                                        23   ancillary proceedings.

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                                         1            DATED this 3rd day of August, 2023.
                                         2                                                    LEWIS ROCA ROTHGERBER CHRISTIE
                                                                                              LLP
                                         3

                                         4                                                    By: /s/ Ogonna M. Brown
                                                                                                  Ogonna M. Brown, Bar No. 7589
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                                         6                                                        Cassin T. Brown, Bar No. 15877
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                                        10                                                    Attorneys for Creditors Scott W. Wrye and
                                                                                              Christine L. McAvoy
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Las Vegas, NV 89169




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                                         1                                    CERTIFICATE OF SERVICE
                                         2            I hereby certify that I am an employee of Lewis Roca Rothgerber Christie LLP, and that on
                                         3   August 3, 2023, I caused to be served a true and correct copy of the foregoing NOTICE OF
                                         4   APPEARANCE AND REQUEST FOR SPECIAL NOTICE AND COPIES OF ALL PLANS
                                         5   AND DISCLOSURE STATEMENTS [F.R.B.P. 9010(b), 2002 AND 3017(a)] in the following
                                         6   manner:
                                         7                   (ELECTRONIC SERVICE) Under Administrative Order 02-1 (Rev. 8-31-04) of the
                                         8   United States Bankruptcy Court for the District of Nevada, the above-referenced document was
                                         9   electronically filed on the date hereof and served through the Notice of Electronic Filing
3993 Howard Hughes Parkway, Suite 600




                                        10   automatically generated by that Court’s facilities. A copy of the document was also sent via
                                        11   electronic mail to the parties listed on the CM/ECF Bankruptcy Court portal, at their last known
                                        12   email addresses.
Las Vegas, NV 89169




                                        13                   (ELECTRONIC MAIL) By transmitting electronically to the following recipient
                                        14   and last known email address:
                                        15                   (UNITED STATES MAIL) By depositing a copy of the above-referenced document
                                        16   for mailing in the United States Mail, first class postage prepaid, at Las Vegas, Nevada, to the
                                        17   parties listed below, at their last known mailing addresses:
                                        18

                                        19                                                         /s/ Renee L. Creswell
                                                                                                   An employee of
                                        20                                                         Lewis Roca Rothgerber Christie LLP
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